Case 2:23-cv-01281-DSC-KT Document 7-2 Filed 09/29/23 Page 1 of 2

Exhibit B
Case 2:23-cv-01281-DSC-KT Document 7-2 Filed 09/29/23 Page 2 of 2

From: Jason Ciarochi <jason@ciarochilaw.com>

Sent: Tuesday, August 8, 2023 3:29 AM

To: David G. Oberdick

Cc: Dawn Takacs; Jaden Rankin-Wahlers

Subject: RE: | am back from vacation- thanks for copy of the lawsuit

Dear Mr. Oberdick:

Thanks for reaching out to me. | am sorry that we did not have the chance to get some quality dialogue going because
there is really not a good reason to sue my client in Pennsylvania.

tam presently not authorized to accept service in this case, but | will discuss this matter with the client after | read it and
i hope to chat on Tuesday or Wed to see why this is filed...

Sincerely,
Jason Charles Ciarochi

Ciarochi Law Firm PLLC
P O Box 29256

Dallas, Texas 75229
214-642-2424
jason@ciarochilaw.com

From: David G. Oberdick <DGO@MUSLAW.com>

Sent: Monday, July 17, 2023 5:43 PM

To: Jason Ciarochi <jason@ciarochilaw.com>

Cc: Dawn Takacs <dawn @elitecasinoevents.com>; Jaden Rankin-Wahlers <JRW@MUSLAW.com>
Subject: RE: Response from Elite (greater detail)

Dear Mr. Ciarochi,

| have attached a complaint that was filed in the United States District Court for the Western District of Pennsylvania and
that names your client as the Defendant.

Can you please let me know if you are able to accept service of the Complaint.
Respectfully,
David Oberdick

David G. Oberdick | Attorney at Law
412.456.2881 | dgo@muslaw.com | vCard | Bio

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